Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 1 of 8 PageID: 94




                                EXHIBIT E
                        Messenger Middle School IEP
             Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 2 of 8 PageID: 95
      PROVO SCHOOL DISTRICT                                                                                                                                                         Sp. Ed. 1I
      Provo, Utah 84601                                                                                                                                                             luly 94
                                                                      PARENTAT PRIOR NOTICE
                                                                                                                                                           r t'
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                                                                                                                                                                           I   !+t.,
     Re                                                                     "u                                                                Dab:
                                                                                                                                                                  ,1.{          ,, ,,/



  il      Determining the student's eligibility for
                                                                            -p     Developing an Individualizedlducation Pr-ogram for the student
          special education services                                         D     Reviewing or revising the student's Individualized Education program
  f,      A change in special education service delivery                     D     Re-evaluating the student's need for continued special education services
  il      A change in classification for receiving special                   U     Ofter
          education seryices


       This action is being proposed because of:

        Academic    concems D Speech/language concems                                   il   Behavior    concerns O Health concems O program planning
        Continued eligibility to receive special education services D Transition                               tOtq

 2. Prior to this proposal, the following options were attempted and                         rejected because concems expressed in item 1 continue to exist:
 D Student and parent conferences I Academic adjustments and hacking D fthedule/teacher change 0                                                                  Tutoring
 D School disciplinary actions H' t* applicable O Oftre

 3. The action proposed above is based on the following evaluation procedures, tests, records, or reports:
 I     Teacher observation and    records C Achievement test scores D Curriculum-based assessment
 il    Multidisciplinary     Team Report Hruot applicable           il OeE

4.     Other factors relevant to the action proposed above are:
n      Parentconcem il Studentconcem 8'Non"                                     D Ofts

Your assistance is requested        to: O slgn and return the permission to test form.
                                            D     Completetheerrdoeed                                                                           and refum itto us.

                                            TA..ung"         to meet with the team to discuss the above proposed action, as described below.


                                                                      Proposed Meeting Arrangements


      Dab:                                Time:                               Wewillbenreetingat
      At the presort time we anticipaie

                                                                                           will be meeting with us.         Please let us   know if this is a convenient time
      for you so we can finalize the plans for the meeting. If you wish to have someone else attend, you may do so.


                                                                                                                                                     iz
                                             1I-rj   a-
Please call                                                      at                                                 betwenthehoursof             .            and'                 - if
                                                                                   Phoile Nnhbet
you have any questions about the information provided above. A copy of the Parent Rights is enclosed. Please read them carefully.
We     will review   these with vou when we meet.


                                                          *** White copy retained in blue folder, yellow copy to parent.   ***
         Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 3 of 8 PageID: 96

  PROVO SCHOOL DISTRICT                                                                         I. E. P.                                                                                Sp. Ed.5b
  Provo, Utah 84604                                                              GOAL AND                                                                                               luly   94

                                                                                                                                                                       :7 /t, ,/,),
 Student Name:                                                                                                                                                   Date: {/7=4-*/
                                                                                                 I

 Annual Goal:                                                                               -l'7/
                                                                                                                                                                             (/




         If sewice is provided less than daily complete the following:
                                                                      Circle days served:
                                        Duration of service session (hrs./mins.):


   Measurable                 rt Term Objectives!                    (Minimum of two).

                                                                                                                         it                  ,/   ",n:t-    "di r, fvi-{:
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                                                                                                                                                                       i"
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                                                                                                                                                                                 .,'4




Evaluation/Data Coliection                Procedure        Ondicate    at   least 1)


Observa tion ( in clud e fr   e qu   en cy )


Informal Assessment ( method)

Formal Assessment (fesf )

                                                                   Annual Review of Short Term Objectives

    Date Reviewed:                                                                     tr   Objectives     Met                tr      Progress Made               tr        No Change

    Comments:




                                               *** White copy   retained in blue foldet, yellozu for school usc, pittk copy to parent or student. **,
         Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 4 of 8 PageID: 97

PROVO SCHOOL DISTRICT                                                              I. E. P.                                                                       Sp.   Ed.5b
Provo, Utah 84604                                                   GOAL AND OBIECTMS                                                                             luly 94


Student Name:                                                                       School:
                                                                                                                                                               7/q/q,/
                                                                                                                                                               T-,-l
Annual Goal:




   I
         If service is provided less than daily complete the following:
                                                           Circle days served:                        Mon.          Tue.            Wed.          Thur.

                              Duration of service session (hrs./mins.):



 Measurable             rt Term Obiectivgs: (Minimumof two)                                                                                                               Vr'At


                                                                                                                                                                                /-t.

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                                  Jr'J--'




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                                           //t4Indicate
                                          re            at       least 1)
                                                                                     # ,u; 11                                  l-l?1,{              r                                   /i

Observation (incfude   ft equency )
Informal Assessment (method)

Formal Assessment (fesf)

                                                          Annual Review of Short Term Obiectives


   Date Reviewed:
                                                                            tr    Objectives          Met               tr      Progress Made             tr   No Change


       Comments:




                                      .** white   copy retained in blue folder, yellow   for   school use, pink copy to pafent or   student ***
            Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 5 of 8 PageID: 98
     PROVO SCHOOL DISTRICT                                                                                                                                                     Sp. Ed. 11
     Provo, Utah 84604                                                                                                                                                         fdyea
                                                               PARENTAL PRIOR NOTICE

 Re


 Dar
                                                                                                                                             ^Wz
 The                                                  special education multidiscipli."ry team is considering the following action(s) checked below:


il     Determining the student's eligibility for                         D     Developing an Individualized Education Program for the student

       special education services                                        fl    Reviewing or revising the student's Individualized Education Program

t A.hutge in special education service delivery fi                             O"-uuuluating the student's need for continued special education services

D A.hu.,g" in classification for receiving special                 1n**                                                      \
       education services
                                                                   9(:
1. This action is being proposed because of:
0      Academic   concerns 0           Speech/language concerns                     il    Behavior    concems f, Health concerns [J Program planning
       Continued eligibility to receive special education services                  f, Transition il            O*to
X
2.    Prior to this proposal, the following options were attempted and rejected because concerns expressed in item                                       1    continue to exist:
D Student and parent conferences                D   Academic adjustments and                tracking D          Schedule/teacher             change f, Tutoring
D School disciplinary actions
                                               $    Not   applicable il               O*Er


J.    The action proposed above is based on the following evaluation procedures, tests, records, or reports:

f,     Teacher observation and     records il         Achievement test           scores il           Curriculum-based assessment
D MultidisciplinaryTeamReport pNotapplicable                                                     O   od:rer



4. Other factors relevant to the action proposed             above are:

D Parentconcem D Studentconcem p ruor," n o*s

Your assistance is requested to:        p      Sign and return the permission to test form.

                                         il    Completetheendosed                                                                               and retumittous.

                                         D     Arrange to meet with the team to discuss the above proposed action, as described below.

                                                               Proposed Meeting Arrangements


     Dab:                              Time:                              Wewillbeneetingat
     Atthepresent time we anticipaie
                                                                                         will be meethg with us.        Please let   r.rs   know if this is   a   convenient time

     for you so          n finalize the plans for the meeting. If you wish to have someone else attend, you may do so.



                                                                                                                  betweentheho       ,*"t 7:3D*raV M                                ;t
                                   t the information provided above. A copy of the Parent Rights is enclosed. Please read them carefully.
We     will review   these   with you when we meet.

                                                      **' White copy   retained in blue folder, yellow copy to parent. ***
            Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 6 of 8 PageID: 99

Provo School District                                Individualized Education Pro gram (IEP)                                                                           @
                                                                                                                                                                            SpEd 6
                                                                                                                                                                           June 95
Provo, Utah 84604                                                                                                                                                            D.D.

                       . /.'                                        l
                                                                   L
    Student                                                                  Birthdate                                    Date of IEP
    School                                                                   Primary Language of Parent/Guardian
    Classification
                                        Note: In coniunctiqn with this IEP, provide parenis with a copy of Procedural Safeguards and
                                                  Prior Notice/Documentation with IEP and Placement sections completed.

       Special Education and Related Services
              SpecialEducation             Program                                   Amountof Time:                         E Uaity E              Weekly
              The following related services are required for student to benefit from special education:

                                                                                     AmountofTime:-                         E Oaity fl Weekty
                                                                                               -
                                                                                     AmountofTime:                          EOalty EWeekly

       tr     Check i f transportation             will   be   provided.
                                                                                     -
              Projected date of initiation of these services, if other than date of IEP:
              Anticipated duration of the services:                     E   One year from initiation date, OR           E    Other:


       Participation in Regular Education programs
                       RegularEducation            Program                          Amountof        Time:--          E Oaity E                     Weekty
                       Physical Education (PE) will be addressed through                       fl   Regular    PE OR E Special PE

       Transition (Applicable for students over                    16, or    who need transition planning)
             tr       Transition planning will be addressed through the student's Student Advisement Program or SEOP
             tr       Transition planning is addressed on IEP addendum (see attached)


       Placement Review (not applicable for                                   placement)

            Maintain current placement of:
       --     tl     Regular class/resource               E    Special   class E     Special    school E          Home Instruction          E      Hosp./Institution
      OR
            Change current placement (Complete and attach Documentation of Change of Placement and Prior Notice of change of
       -                                            placement)




                                                                                                                  LEA signature                               Date


                                                                                                                Parent signaturel                             Date


                         Parent signature*                                                                      Parent signature*                             Date


                        Student signature                                                                       Student signature

                   Student's teacher's signature                                                          Student's teacher's signature                 -ffi- Date
                        SiFlature and Title                                                                    Signature and Title                            Date

                        Signature and   Title                                Date                              Signature and Title                            Date

      *Note: If parent signature is missing, check below:                                  'Note:   If parent signature is missing, check below:
      E did not attend (document efforts to involve parent)                                E   did not attend (document efforts to involve parent)
      E participated but refused to sign                                                   E   participated but refused to sign
      E via telephone (copy ofIEP/procedural safeguards sent)                              E   via telephone (copy ofIEP/procedural safeguards sent)
      E other:                                                                             E   other:
     Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 7 of 8 PageID: 100

Provo School District           Individualized Education Program (IEp)                                  SpEd 6a1
Provo, Utah 84604                                                                                       @ June 95
                                                                                                             D,D.
                                    ,              l
Student:                                   ::
                                                                             Date of IEP:
      Present Levels of Performance:

                        L'                                       .-    tL-




    Annual Goal:


    oShort Term Objective:




   Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:


   Status: Date Started:                        Date Mastered:                          Other:
   .Short Term Objective:




   Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:


   Status: Date Started:                        Date Mastered:                          Other:
   .Short Term Objective:




   Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:



  Status: Date Started:                         Date Mastered:                         Other:
      Case 3:17-cv-03755-FLW-DEA Document 2-7 Filed 05/26/17 Page 8 of 8 PageID: 101

Provo School District             Individu alized Education                   Pro   gram (IEP)            SpEd 6a2
                                                                                                          @ June 95
Provo, Utah 84604                               (Use   multiple sheets   as necessary)                         D,D.




     Student:                                                                 Date of IEP:


     Annual Goal:




     .Short Term Objective:




     Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:




     Status: Date Started:                        Date Mastered:                                 Other:




     .Short Term Objective:




     Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:




     Status: Date Started:                       Date Mastered:                                  Other:




     .Short Term Objective:




    Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:




     Status: Date Started:                       Date Mastered:                                  Other:
